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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                        MDL NO.: 2924
   PRODUCTS LIABILITY                                                                  20-MD-2924
   LITIGATION
                                                            JUDGE ROBIN L. ROSENBERG
   ________________________/                        MAGISTRATE JUDGE BRUCE REINHART

          THIS DOCUMENT RELATES TO: 9:21-cv-81428-RLR

   Ricky Creel and Becky Creel
   (Plaintiff Names)

           PLAINTIFFS’ UNOPPOSED MOTION FOR ENTRY OF JUDGMENT IN
                 ACCORDANCE WITH DESIGNATED CANCER CASES

          Plaintiffs, Ricky Creel and Becky Creel, designated cancer claimants, pursuant to Federal

   Rule of Civil Procedure 58, moves for an entry of final judgment in accordance with the judgment

   entered into by this Court in the listed Designated Cancer Cases. (Order Severing Bankruptcy Def.,

   Vacating Prior Entry of Rule 54(B) J.s, Entering Rule 58 Final J. in Certain Designated Cancer

   Cases, and Requiring Additional Briefing, September 26, 2023, ECF No. 6974.).

          1.      Mr. And Mrs. Creel filed their original Short Form Complaint on September 21,

   2021, alleging multiple products liability and negligence causes of action in addition to unjust

   enrichment. (Case No. 9:21-cv-81428-RLR, ECF No. 10)

          2.      On September 26, 2023, when the Court entered a Final Judgment in favor of

   Defendants in each case listed as a Designated Cancer Case, (Final J. September 26, 2023, ECF No.

   6974-6), Mr. and Mrs. Creel were not listed on any of the exhibits so as to be included in the Final

   Judgment (See Ex. 1, ECF No. 6974-1) (Ex. 2, ECF No. 6974-2) (Ex. 3, ECF No. 6974-3) (Ex. 4,

   ECF No. 6974-4). While Mr. and Mrs. Creel’s case is not included in the list, it is certainly a

   Designated Cancer Case and it was filed prior to November 15, 2021. Plaintiff Ricky Creel was
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   diagnosed with bladder cancer. It is one of the designated cancers, and the Short Form Complaint

   names the same defendants referred to in the Final Judgment. (Final J., September 26, 2023, ECF

   No. 6974-5)

          3.      In order to preserve the opportunity to appeal, Plaintiffs respectfully request this Court

   to enter Judgment in accordance with the Final Judgment filed on September 26, 2023, because this

   case is and should be considered a Designated Cancer case.

                    LOCAL RULE 7.1(a)(3) CERTIFICATION OF COUNSEL

   Local Rule 7.1(a)(3), the undersigned hereby certifies that undersigned counsel for the Plaintiff has

   conferred with the Brand Name Manufacturer Defendants’ lead/liason counsel and CVS’s lead/liason

   counsel in a good faith effort to resolve the issues raised in the motion and all have authorized

   undersigned to assert to the Court that this Motion is unopposed. Please see email correspondence

   to this effect, Exhibits A and B.

          Dated: November 1, 2023                         Respectfully submitted:

                                                          /s/ Michael C. Palmintier
                                                          Michael C. Palmintier (LA Bar No.: 10288)
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                                   CERTIFICATE OF SERVICE


          I hereby certify that on November 1, 2023, I electronically filed the foregoing document with

   the Clerk of Court using CM/ECF and that the foregoing document is being served on all counsel

   of record or parties registered to receive CM/ECF Electronic Filings.

                                                        /s/ Michael C. Palmintier
                                                        Michael C. Palmintier (LA Bar No.: 10288)
